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 Case25-11354-JNP
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 Matthew H. Haverstick (No. 85072)
 Joshua J. Voss (No. 306853)
 Samantha G. Zimmer (No. 325650)
 KLEINBARD LLC
 Three Logan Square
 1717 Arch Street, 5th Floor
 Philadelphia, PA 19103
 Ph: 215-568-2000|Fax: 215-568-0140
 Attorneys for Plaintiffs

     IN THE COURT OF COMMON PLEAS OF LANCASTER COUNTY, PA
                        CIVIL ACTION-LAW

                                                     :
 PRESTIGE FUND A, LLC, ET AL.,                       :   No. CI-24-06012
                     Plaintiffs,                     :
 v.                                                  :   Hon. Leonard G. Brown, III
                                                     :
 PARAMOUNT MANAGEMENT GROUP,                         :
 LLC,                                                :
                 Defendant.                          :
                                                     :

             PLAINTIFFS= INTERROGATORIES IN AID OF EXECUTION
                          DIRECTED TO DEFENDANT

        Plaintiffs hereby request that Defendant answer the following interrogatories

 under oath within thirty (30) days of service thereof in accordance with

 Pennsylvania Rules of Civil Procedure 3117, 4005, and 4006.

                  DEFINITIONS AND GENERAL INSTRUCTIONS

        1.      mAssetn means any property or thing of value you owned, claimed, or

 held any interest in, in whole or in part, including any and all real property,

 tangible personal property including cash, vehicles, aircraft, boats or other water

 vessels, goods, inventory, machinery, equipment, trade fixtures, office equipment,

 supplies, and computer systems and networks, and intangible personal property

 including good will, contracts, accounts receivable, notes receivable, stocks, bonds,
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5 FiledFiled
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                                         06/03/25         03/28/25
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                     Exhibit              Page
                             D to Certification 80Page
                                                    of 142
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 and other securities, ownership interest in any other entities such as subsidiary

 corporations, general or limited partnerships, and joint ventures, intellectual

 property rights including copyrights, patents, trademarks, and trade names, and

 insurance policies which you own or which name you as an insured.

        2.     mCommunicationsn means all statements, admissions, denials,

 inquiries, discussions, conversations, negotiations, agreements, contracts,

 understandings, meetings, telephone conversations, letters, correspondence, notes,

 telegrams, telexes, e-mails, texts, advertisements, or any other form of written or

 verbal intercourse.

        3.     mDReVn dYR]] ^VR_ eYV ViRTe URj( ^`_eY( R_U jVRc( ZW RdTVceRZ_RS]V( `c

 if not, the best approximation thereof, including relationship to other event.

        4.     m<VWV_UR_e(n mHRcR^`f_e(n mj`fn R_U mj`fcn dYR]] cVWVc e` Paramount

 Management Group, LLC and its agents, officers, directors, employees, attorneys,

 accountants, assignees, and all other persons acting on its behalf.

        5.     mDVdTcZSVn( mVia]RZ_n R_U mdeReVn ^VR_ e` UVeRZ] Wf]]j Sj cVWVcV_TV e`

 underlying facts, rather than to ultimate facts or conclusions of fact or law, and to

 particularize as to time, place, and manner.

        6.     mD`Tf^V_en ^VR_d eYV `cZXZ_R] R_U R]] T`aZVd `W R_j hcZeeV_( acZ_eVU(

 typed, electronic or other graphic matter of any kind or nature, in hard copy or

 machine readable form, and any other tangible thing in your possession, custody or

 control, wherever located. Any copy containing thereon or having attached thereto,

 any alterations, notes, comments, or other material not included in the originals or




                                                2
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
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                             D to Certification 81Page
                                                    of 142
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 copies referred to in the preceding sentence shall be deemed a separate document

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 to:

        a.     all contracts, agreements, letter agreements, representations,

               warranties, certificates, and opinions;

        b.     all letters or other forms of communications or communication,

               including envelopes and notes, telegrams, cables, facsimiles, e-mails,

               texts, telex messages and other messages, including reports, notes,

               notations, and memoranda of or relating to telephone conversations or

               conferences;

        c.     all memoranda, reports, test results, financial statements or reports,

               notes, scripts, transcripts, tabulations, studies, analyses, evaluations,

               projections, work papers, corporate records, or copies thereof,

               expressions or statements of policy, lists, comparisons, questionnaires,

               surveys, charts, graphs, summaries, extracts, statistical statements or

               records, compilations and opinions or reports of consultants;

        d.     all desk calendars, appointment books and diaries;

        e.     all minutes, records or transcripts of meetings and conferences and

               lists of persons attending meetings or conferences;

        f.     all reports and summaries of interviews and negotiations;




                                                3
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5 FiledFiled
                                     03/28/25   Entered
                                         06/03/25         03/28/25
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                     Exhibit              Page
                             D to Certification 82Page
                                                    of 142
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        g.     all books, articles, press releases, magazines, newspapers, booklets,

               brochures, pamphlets, circulars, bulletins, notices, instructions, and

               manuals;

        h.     all motion pictures and photographs (whether developed or

               undeveloped), tape recordings, microfilms, phonographs, tapes or other

               records, punch cards, magnetic tapes, discs, backup tapes, data cells,

               drums, printouts, and other data compilations from which information

               can be obtained;

        i.     all drafts of any document, revisions of drafts of any document and

               original or preliminary notes; and

        j.     all electronically stored information.

 This definition shall not be construed in any way to limit or constrict the definition

 `W mU`Tf^V_en T`_eRZ_VU Z_ eYV HV__dj]gR_ZR If]Vd `W ;ZgZ] Hc`TVUfcV*

        7.     m=RTYn Z_T]fUVd eYV h`cU mVgVcj(n R_U mVgVcjn Z_T]fUVd eYV h`cU mVRTY*n

 m9_jn Z_T]fUVd eYV h`cU mR]](n R_U mR]]n Z_T]fUVd eYV h`cU mR_j*n m9_Un Z_T]fUVd eYV

 h`cU m`c(n R_U m`cn Z_T]fUVd eYV h`cU mR_U*n

        8.     m>f_Udn dYR]] cVWVc e` HcVdeZXV >f_U 9( DD;7 HcVdeZXV >f_U 9 AA( DD;7

 Prestige Fund A IV, LLC; Prestige Fund A V, LLC; Prestige Fund A VI, LLC;

 Prestige Fund A VII, LLC; Prestige Fund A IX, LLC; Prestige Fund B, LLC;

 Prestige Fund B II, LLC; Prestige Fund B IV, LLC; Prestige Fund B V, LLC;

 Prestige Fund B VI, LLC; Prestige Fund B VII, LLC; Prestige Fund B BTM I, LLC;

 Prestige Fund D, LLC; Prestige Fund D III, LLC; Prestige Fund D IV, LLC;




                                                4
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5 FiledFiled
                                     03/28/25   Entered
                                         06/03/25         03/28/25
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                     Exhibit              Page
                             D to Certification 83Page
                                                    of 142
                                                         5 of 31
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 Prestige Fund D V, LLC; Prestige Fund D VI, LLC; Prestige Fund D BTM I, LLC;

 WF Velocity I, LLC; WF Velocity Fund IV, LLC; WF Velocity Fund V, LLC; WF

 Velocity Fund VI, LLC; and WF Velocity Fund VII, LLC.

        9.      m>f_Un dYR]] cVWVc e` any of the Funds individually.

        10.     mMSAn refers to a Management Services Agreement.

        11.     mIVWVc e`(n mcVWVccZ_X e`(n mcV]ReV e`(n mcV]ReZ_X e`(n `c mVgZUV_TZ_Xn dYR]]

 mean, without limitation, referring to, relating to, evidencing, demonstrating,

 concerning, involving, constituting, or discussing.

        12.     mRevenuen or mIncomen means any and all money, earnings, revenue, or

 payments of any kind that you received in any form, whether in cash or by check,

 credit or debit card, electronic transfer, or otherwise, including but not limited to

 payments for goods and services, payments on accounts receivable, loan

 repayments, interest income, rents, royalties, license fees, commissions, dividends,

 distributions, payments relating to sales of assets, equipment, or inventory,

 payments on contracts, or any other payment or remuneration you received in

 connection with the operation of your business.

        13.     Terms in the plural include the singular, and terms in the singular

 include the plural.

        14.     The masculine form of any noun or pronoun includes the feminine and

 neuter form.

        15.     In answering these interrogatories, furnish all information available to

 you, including information in the possession of your attorneys, investigators,




                                                5
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5 FiledFiled
                                     03/28/25   Entered
                                         06/03/25         03/28/25
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                     Exhibit              Page
                             D to Certification 84Page
                                                    of 142
                                                         6 of 31
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 employees, or agents and all other persons acting on your behalf and not merely

 such information that is within your personal knowledge.

        16.    If you or your attorneys cannot answer the interrogatories in full after

 exercising due diligence to secure the information requested, so state and answer to

 the extent possible, specifying the inability to answer the remainder and stating

 whatever information or knowledge you and/or your attorneys have concerning the

 unanswered portions. You and/or your attorneys are required to supplement any

 response to these interrogatories as necessary.

        17.    In each interrogatory wherein you and/or your attorneys are asked to

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        a.     Name;

        b.     Last known address and telephone number;

        c.     Last known business address and telephone number; and

        d.     Job title.

        18.    In each interrogatory wherein you and/or your attorneys are asked to

 mZUV_eZWjn R_U+`c mUVdTcZSVn R_j U`Tf^V_e( deReV hZeY cVdaVTe e` VRTY dfTY U`Tf^V_e

 either the Bates/production number or the:

        a.     Date of the document;

        b.     Person originating the document;

        c.     Present location of the document;

        d.     Person in whose possession or under whose control the document

               presently is and the relationship of this person to you, if any; and




                                                6
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5 FiledFiled
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                                         06/03/25         03/28/25
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                             D to Certification 85Page
                                                    of 142
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        e.     The contents or substance of the document.

        19.    If any document specified herein can be identified but is no longer in

 the possession or control of you and/or your attorneys, identify the document by

 describing its substance and stating the date on which it was created, the names of

 any and all persons involved in creating it, the present location of the document,

 and the names and addresses of any and all persons who currently possess the

 document. If the document was lost, destroyed, or transferred voluntarily or

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 of creation, subject matter in detRZ]( RfeY`c( eYV UReV `W eYV U`Tf^V_eod ]`dd(

 destruction, or transfer and the reason for its loss, destruction, or transfer. Unless

 expressly notified otherwise in writing, Defendants will assume the failure to

 produce any documents requested herein means that such items do not exist.

        20.    If you claim a privilege with regard to any document responsive to an

 interrogatory herein, state the following in a privilege log:

        a.     The nature of the privilege claimed;

        b.     The person who created or originated the document;

        c.     All recipients of the document;

        d.     The present location of the document;

        e.     The subject matter of the document in sufficient to detail to permit

               Defendants to file a motion to compel production, if appropriate; and

        f.     the person in whose possession or under whose control the document

               presently is and the relationship of this person to Plaintiffs, if any.




                                                7
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
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                     Exhibit              Page
                             D to Certification 86Page
                                                    of 142
                                                         8 of 31
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        21.    If you claim a privilege with regard to any information responsive to

 an interrogatory herein, state the following:

        a.     The nature of the privilege claimed;

        b.     The person in possession of such information; and

        c.     The nature and substance of such information.

        22.    If you encounter any ambiguity in construing an interrogatory,

 definition, `c Z_decfTeZ`_( deReV eYV ^ReeVc UVV^VU mR^SZXf`fdn R_U dVe W`ceY eYV

 construction used in responding.

        23.    These Definitions and General Instructions shall not in any way be

 construed to limit your obligations to answer these interrogatories under the

 Pennsylvania Rules of Civil Procedure.

        24.    These interrogatories are continuing, and in the event that your

 answers become incomplete or inaccurate, you are under a continuing obligation to

 supplement your answers.

        25.    Unless otherwise stated, the relevant time period for these

 interrogatories is January 1, 2024 to the date of your response.




                                                8
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
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                                     03/28/25   Entered
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                     Exhibit              Page
                             D to Certification 87Page
                                                    of 142
                                                         9 of 31
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                                   INTERROGATORIES

        1.     Identify the individual(s) answering these interrogatories. Include in

 j`fc R_dhVc eYV Z_UZgZUfR]od eZe]V( [`S UVdTcZaeZ`_( responsibilities, and length of

 employment, and state whether the individual is acting as an agent of Paramount

 in responding to these Interrogatories.

 ANSWER %BSZM)FMMFS



        2.     Identify and produce any documents you relied on in answering these

 interrogatories.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOE
 SFTQFDUGVMMZEFDMJOFUPBOTXFSUIFRVFTUJPO



       3.      Identify and describe all of your affiliates, subsidiaries, parent

 companies, or any other company that has or claims an interest in Paramount,

 including the name, address or location, and state or country of incorporation

 organization of any such entity, and the nature of your affiliation or corporate or

 other organizational relationship with any such entity.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOE

 SFTQFDUGVMMZEFDMJOFUPBOTXFSUIFRVFTUJPO
         4.     Identify all corporations, subsidiaries, limited liability companies,

 trusts, partnerships, or other business entity of any kind or nature in which you

 currently own, hold, or claim an interest in, in whole or in part, or owned, held, or

 claimed an interest in, in whole or in part, during the relevant time period, and

 describe that relationship.


                                                9
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
                                    03/28/25   Entered
                                        06/03/25         03/28/25
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                            D to Certification 88  of 142
                                                Page   10 of 31
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 ANSWER           0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZEFDMJOFUP
                  BOTXFSUIFRVFTUJPO


         5.     Identify all members of Paramount.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZ
 EFDMJOFUPBOTXFSUIFRVFTUJPO



         6.    For the period of January 1, 2023 to March 31, 2024, identify all

 financial institutions used by Paramount to pay any Monthly Revenue Remittance

 to the Funds. Identify the account number for each.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZ

 EFDMJOFUPBOTXFSUIFRVFTUJPO
         7.     For the period of April 1, 2024 to the date of your response to this

 interrogatory, identify all financial institutions where Paramount deposited

 revenues generated by ATMs owned by the Funds. Identify the account number for

 each.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZ

 EFDMJOFUPBOTXFSUIFRVFTUJPO

         8.     For the period of April 1, 2024 to the date of your response to this

 interrogatory, identify all persons or entities that had access to the financial

 account containing revenues generated by ATMs owned by the Funds.

 ANSWER0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOE

 SFTQFDUGVMMZEFDMJOFUPBOTXFSUIFRVFTUJPO




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Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
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                         Document
                    Exhibit              Page
                            D to Certification 89  of 142
                                                Page   11 of 31
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        9.      For the period of April 1, 2024 to the date of your response to this

 interrogatory, identify the recipient of any funds from the financial account

 containing revenues generated by ATMs owned by the Funds, including the date

 and amount the funds were received and the purpose of the transfer.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOE

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        10.     As of the date of your response to this interrogatory, identity the total

 amount of cash in all financial accounts that are accessible to Paramount or any

 entity owned or controlled, directly or indirectly by Paramount.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOE

 SFTQFDUGVMMZEFDMJOFUPBOTXFSUIFRVFTUJPO

        11.     Identify any recorded liens or judgments against Paramount since

 January 1, 2023, including the amount. State whether any recorded lien or

 judgment has been satisfied and if so, when.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZ

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        12.     Identify any recorded liens or judgments against any entity owned or

 controlled, directly or indirectly, by Paramount since January 1, 2023, including

 the amount. State whether said recorded lien has been satisfied and if so, when.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZ

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                                               11
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
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                                        06/03/25         03/28/25
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                         Document
                    Exhibit              Page
                            D to Certification 90  of 142
                                                Page   12 of 31
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        13.    Identify all cell phone numbers used by Daryl Heller to communicate

 on behalf of Paramount. ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUI

 BNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZEFDMJOFUPBOTXFSUIFRVFTUJPO



        14.    Identify all email addresses used by Daryl Heller to communicate on

 behalf of Paramount

  ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZ

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        15.    Provide all of the following information regarding each of the Fundso

 ATM Units:

               i.      ATM TID;

                       1.     Which Fund the ATM Belongs To;

               ii.     Location Name;

                       1.     Contact Name;

                       2.     Physical Address;

                       3.     Physical City;

                       4.     Physical State;

                       5.     Physical Zip;

                       6.     Physical Phone;

                       7.     Mailing Address;

                       8.     Mailing City;

                       9.     Mailing State;

                       10.    Mailing ZIP;

                       11.    Mailing Phone;


                                                12
Case
 Case25-11354-JNP
      25-11354-JNP Doc
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                            D to Certification 91  of 142
                                                Page   13 of 31
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                      12.     Locations Revenue Split;

                      13.     Whether Split is Daily or Monthly;

                      14.     Last Date Paid;

               iii.   Processor;

               iv.    Sponsoring Bank;

               v.     Cash Supplier;

                      1.      Contact;

                      2.      Address;

                      3.      City;

                      4.      State;

                      5.      Zip;

                      6.      Phone;

                      7.      Billing Type (per transaction or interest);

               vi.    Cash In Transit;

                      1.      Contact;

                      2.      Address;

                      3.      City;

                      4.      State;

                      5.      Zip;

                      6.      Phone;

                      7.      Billing Type (per transaction or per delivery);

               vii.   1st Line Maintenance Provider;

                      1.      Contact;

                      2.      Address;




                                              13
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
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                                                Page   14 of 31
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                       3.     City;

                       4.     State;

                       5.     Zip;

                       6.     Phone;

                       7.     Billing Type (per transaction, monthly or per occurrence);

               viii.   2nd Line Maintenance Provider;

                       1.     Contact;

                       2.     Address;

                       3.     City;

                       4.     State;

                       5.     Zip;

                       6.     Phone;

                       7.     Billing Type (per transaction, monthly or per occurrence);

               ix.     Portfolio Acquired From;

                       1.     Contact;

                       2.     Address;

                       3.     City;

                       4.     State;

                       5.     Zip;

                       6.     Phone;

               x.      ATM Make;

               xi.     ATM Model;

               xii.    Serial Number;

               xiii.   Date Installed;




                                              14
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
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                            D to Certification 93  of 142
                                                Page   15 of 31
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               xiv.    ATM Password; and

               xv.     Last Transaction Date.

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        16.    Identify all persons or entities to whom Fund assets have been pledged

 by you as collateral. Provide the dates of any such pledge and identify the instruments

 through which any such pledge was made.

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        17.    For the relevant time period, describe how Paramount used revenue

 generated by the ATMs subject to the MSAs between the Funds and Paramount.

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        18.    If Paramount has used revenue generated by the ATMs subject to the

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 or subsidiaries, then describe the basis for such use and the circumstances

 surrounding such use.

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        19.    For the period of April 1, 2024 to the date of your response to this

 interrogatory, describe what happened to the revenue generated by the ATMs

 subject to the MSAs between the Funds and Paramount.

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 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
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                         Document
                    Exhibit              Page
                            D to Certification 94  of 142
                                                Page   16 of 31
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        20.     Identify and describe your revenue during the relevant time period,

 including but not limited to:

        (a)    All sources of income, revenue, or remuneration of any kind, including

               payments for goods and services, interest income, operating income,

               payments on accounts receivables, commissions, agency fees, loan

               repayments, rents, royalties, license fees, dividends, distributions,

               payments relating to sales of assets, equipment, or inventory,

               payments on contracts, or any other payment or remuneration you

               received in connection with the operation of your business.

        (b)    Income declared on state and federal income tax returns, and all

               related forms and schedules (including all amended returns, forms,

               and schedules) filed during or relating to the relevant time period.

        (c)    Income identified on financial statements, balance sheets, income

               statements, cash flow statements, and loan applications prepared or

               submitted by you or on your behalf during the relevant time period.

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               BOTXFSUIFRVFTUJPO



        21.    Identify and produce all documents evidencing your revenue

 referenced in foregoing interrogatory.

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                                               16
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
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                         Document
                    Exhibit              Page
                            D to Certification 95  of 142
                                                Page   17 of 31
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        22.    Identify and describe your routine expenses, including but not limited

 to:

        (a)    Operating costs.

        (b)    Rental obligations.

        (c)    Payroll and benefits.

        (d)    Outstanding loans.

        (e)    Installment payments.

        (f)    Mortgage payments.

        (g)    Loan payments and financing charges on vehicles, boats, aircraft,

               equipment, and supplies.

        (h)    Payments due under contracts.

        (i)    Royalty payments and license fees.

        (j)    Commissions owed to brokers, dealers, or representatives.

        (k)    Legal, accounting, and other professional fees.

        (l)    Advertising and marketing costs.

        (m)    Other routine debts and expenses that occur on a regular basis.

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        23.    Identify and produce all documents evidencing your routine expenses

 referenced in the foregoing interrogatory.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZ

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                                              17
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
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                                        06/03/25         03/28/25
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                         Document
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                            D to Certification 96  of 142
                                                Page   18 of 31
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        24.    Identify and describe all debts and liabilities you owed or incurred

 during the relevant time period, including:

        (a)    The name, address, and telephone number of the creditor.

        (b)    The amount owed.

        (c)    When the debt was incurred and for what reason.

        (d)    Whether all or any portion of the debt is paid.

        (e)    When all or any portion was paid.

        (f)    Whether the debt is secured and, if so, how it is secured.

        (g)    Any remaining balance on all such debts.
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        25.    Identify and produce all documents evidencing your debts and

 liabilities referenced in the foregoing interrogatory.

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        26.    Identify all efforts to collect any debt from you by any creditor,

 collection agency, attorney, or other party acting on behalf of any creditor, including

 receiving demand letters, default notices, forbearance agreements, collection letters,

 liens, lis pendens, lawsuits, judgments, petitions, complaints, summonses, or other

 legal process.

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                                               18
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 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
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                    Exhibit              Page
                            D to Certification 97  of 142
                                                Page   19 of 31
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        27.    Identify all legal actions in which you have been or are a party during

 the relevant time period, including:

        (a)    The title of the case.

        (b)    The name of the court where the action is or was pending.

        (c)    The docket number of the case.

        (d)    A description of the case.

        (e)    The outcome of the case, if applicable (for example, a judgment for

               money damages against you or the other party).

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        28.    Identify all individuals, institutions, and other entities that owe you

 debts or liabilities, including:

        (a)    The name, address, and telephone number of the debtor.

        (b)    The amount of the debt or liability as of the date of your response to

               this interrogatory.

        (c)    Whether the debt is secured, and if so, how.

        (d)    The maturity date of the debt.

        (e)    Whether any debt has become uncollectable.
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        29.    Identify and produce all documents evidencing all debts and liabilities

 owed to you, as referenced in the foregoing interrogatory.




                                                19
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
                                    03/28/25   Entered
                                        06/03/25         03/28/25
                                                    Entered         14:19:21
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                                                                                        Desc
                         Document
                    Exhibit              Page
                            D to Certification 98  of 142
                                                Page   20 of 31
                                         /DQFDVWHU&RXQW\3URWKRQRWDU\()LOHG-DQ$0
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        30.    Identify and describe all real property you currently own, hold, or

 claim any type of interest in, directly or indirectly, in whole or in part, or owned,

 held, or claimed any interest in, directly or indirectly, in whole or in part, during

 the relevant time period, including:
        (a)   The propecejod RUUcVdd*

        (b)    The purchase price.

        (c)    The current fair market value.

        (d)    The type of real property.

        (e)    How the property is currently titled.

        (f)    How the property was titled when first purchased.

        (g)    Your interest in the property.

        (h)    The identity of any third parties who possess or claim to possess an

               ownership interest in the property.

        (i)    Any debts, liabilities, liens, or other encumbrances against the

               property.

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        31.    Identify and produce all documents evidencing your interest in real

 property, referenced in the foregoing interrogatory.

 ANSWER0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZEFDMJOFUP

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                                              20
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
                                    03/28/25   Entered
                                        06/03/25         03/28/25
                                                    Entered         14:19:21
                                                              06/03/25   00:32:43  Desc   Main
                                                                                        Desc
                         Document
                    Exhibit              Page
                            D to Certification 99  of 142
                                                Page   21 of 31
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        32.    Identify all banks, brokerage firms, investment firms, or other

 financial institutions for any account which you currently own, hold, or claim an

 interest in, in whole or in part, or owned, held, or claimed an interest in, in whole or

 in part, during the relevant time period, including:

        (a)    The bank, investment firm, or other financial institution name,

               address, and telephone number.

        (b)    The name under which the account is titled.

        (c)    The account number.

        (d)    The account type.

        (e)    The account balance as November 21, 2024.

        (f)    The identity of any third parties who possess or claim to possess an

               ownership interest in the property.

        (g)    Any debts, liabilities, liens, or other encumbrances against the

               accounts.

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        33.    Identify and produce all documents evidencing your interest in any

 accounts at banks, brokerage firms, investment firms, or other financial institutions,

 referenced in the foregoing interrogatory.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZEFDMJOFUP

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                                              21
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
                                    03/28/25
                                        06/03/25Entered  03/28/25
                                                    Entered         14:19:21
                                                              06/03/25   00:32:43  Desc   Main
                                                                                        Desc
                         Document
                    Exhibit              Page
                            D to Certification 100  of 142
                                                 Page   22 of 31
                                         /DQFDVWHU&RXQW\3URWKRQRWDU\()LOHG-DQ$0
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        34.    Identify and describe all vehicles, aircraft, boats, or other water vessels

 you currently own, hold, or claim an interest in, directly or indirectly, in whole or in

 part, or owned, held, or claimed an interest in, directly or indirectly, in whole or in

 part, during the relevant time period, including:

        (a)    KYV ac`aVcejod TfccV_e ]`TReZ`_*

        (b)    The pr`aVcejod afcTYRdV acZTV*

        (c)    The current fair market value.

        (d)    The type of property.

        (e)    How you acquired an ownership interest or claim in the property.

        (f)    Your current ownership interest or claim in the property.

        (g)    The identity of any third parties who possess or claim to possess an

               ownership interest in the property.

        (h)    Any debts, liabilities, liens, or other encumbrances against the

               property.

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        35.    Identify and produce all documents evidencing your interest in any

 vehicles, aircraft, boats, or other water vessels, referenced in the foregoing interrogatory.

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                                              22
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
                                    03/28/25
                                        06/03/25Entered  03/28/25
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                                                              06/03/25   00:32:43  Desc   Main
                                                                                        Desc
                         Document
                    Exhibit              Page
                            D to Certification 101  of 142
                                                 Page   23 of 31
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        36.    Identify and describe any and all other tangible corporate property

 with a value over $100 which you currently own, hold, or claim an interest in,

 directly or indirectly, in whole or in part, or owned, held, or claimed an interest in,

 directly or indirectly, in whole or in part, during the relevant time period, including:

        (a)    The type of property, including, but not limited to:

                   i. Goods.

                  ii. Equipment and machinery.

                  iii. Inventory.

                  iv. Trade fixtures.

                   v. Tools.

                  vi. Office equipment and furniture.

                 vii. Computer equipment and networks.

                viii. Household furnishings, appliances, electronics, computer

                      equipment, televisions, stereos, audiovisual equipment, and

                      fixtures.

                  ix. Jewelry, artwork, antiques, and collectibles.

                   x. Clothing.

                  xi. Cash.

                 xii. Precious metals.

        (b)    KYV ac`aVcejod TfccV_e ]`TReZ`_*

        (c)    KYV ac`aVcejod afcTYRdV acZTV*

        (d)    The current fair market value.




                                              23
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
                                    03/28/25
                                        06/03/25Entered  03/28/25
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                         Document
                    Exhibit              Page
                            D to Certification 102  of 142
                                                 Page   24 of 31
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                                                                              CI-24-06012


        (e)    How you acquired an ownership interest or claim in the property.

        (f)    Your current ownership interest or claim in the property.

        (g)    The identity of any third parties who possess or claim to possess an

               ownership interest in the property.

        (h)    Any debts, liabilities, liens, or other encumbrances against the

               property.

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        37.    Identify and produce all documents evidencing your interest in any

 and all other tangible corporate property, referenced in the foregoing interrogatory.

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        38.    Identify and describe all intangible property with a value over $100

 you currently own, hold, or claim any type of interest in, directly or indirectly, in

 whole or in part, or owned, held, or claimed any type of interest in, directly or

 indirectly, in whole or in part, during the relevant time period, including:

        (a)    The type of intangible property, including but not limited to any and

               all:

                       i. Contracts.

                      ii. Security agreements.




                                              24
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
                                    03/28/25
                                        06/03/25Entered  03/28/25
                                                    Entered         14:19:21
                                                              06/03/25   00:32:43  Desc   Main
                                                                                        Desc
                         Document
                    Exhibit              Page
                            D to Certification 103  of 142
                                                 Page   25 of 31
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                     iii. Stocks, bonds, or other evidence of ownership, equity, or

                           investment in any business entity, including number of units

                           owned.

                      iv. Patents, copyrights, trademarks, or other evidence of

                           intellectual property rights.

                      v. Accounts receivable.

                      vi. Notes receivable.

                     vii. Corporate goodwill.

                    viii. Research and development.

                      ix. Retirement, pension, 401(k), and IRA accounts.

                      x. Annuities.

        (b)    A description of the property.

        (c)    The property's purchase price (if applicable).

        (d)    The current fair market value.

        (e)    How you acquired an ownership interest or claim in the property.

        (f)    Your current ownership interest or claim in the property.

        (g)    The identity of any third parties who possess or claim to possess an

               ownership interest in the property.

        (h)    Any debts, liabilities, liens, or other encumbrances against the

               property.

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                                               25
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 Case25-11354-JNP
      25-11354-JNP Doc
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                            D to Certification 104  of 142
                                                 Page   26 of 31
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        39.    Identify and produce all documents evidencing your interest in any

 and all intangible property, referenced in the foregoing interrogatory. ANSWER 0OUIF

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        40.    Identify all policies of insurance you currently own, hold, or claim any

 type of interest in, directly or indirectly, in whole or in part, or were covered under

 during the relevant time period, including:

        (a)    The name, address, and telephone number of the insurance company.

        (b)    The policy number.

        (c)    The policy amount.

        (d)    The type of policy.

        (e)    The present cash or surrender value.

        (f)    The amount of accumulated dividends, if any.

        (g)    The time period covered under the policy.
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 ANSWER
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        41.    Identify and produce all documents regarding any and all policies of

 insurance, referenced in the foregoing interrogatory.

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        42.    Identify any safe deposit boxes you either rent or have access to

 currently or during the relevant time period, including:




                                                26
Case
 Case25-11354-JNP
      25-11354-JNP Doc
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        (a)    The name, address, and telephone number of the entity or person

               under whose name the safe deposit box is rented.

        (b)    The name, address, and telephone number of the financial institution

               or other entity at which the safe deposit box is located.

        (c)    A description of the contents of the safe deposit box as of November 21,

               2024.

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        43.    Identify all revenue, income, or assets you claim exempt from

 judgment enforcement in this action and state the basis for the exemption.

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        44.    As to each asset identified by you in response to these interrogatories,

 identify any third party that currently possesses, owns, or controls that asset, in

 whole or in part, such as:

        (a)    Corporate affiliates, subsidiaries, parent companies, partners, or any

               other related corporate entity.

        (b)    Banks, financial institutions, and brokerage firms.

        (c)    Accountants.

        (d)    Business partners.

        (e)    Friends, family members, and associates with whom you conducted

               business during the relevant time period.




                                              27
Case
 Case25-11354-JNP
      25-11354-JNP Doc
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                            D to Certification 106  of 142
                                                 Page   28 of 31
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        (f)    Other individuals, institutions, and entities that hold your assets.

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        45.    Identify the asset or assets possessed, owned, or controlled, in whole or

 in part, by the third parties referenced in the foregoing interrogatory. ANSWER0OUIF

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        46.    Identify and produce all documents evidencing the asset or assets

 possessed, owned, or controlled, in whole or in part, by the third parties referenced

 in the foregoing interrogatory.

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        47.    Identify all transferees of any of your income or assets over the value of

 $100, in whole or in part, during the relevant time period, or that are transferees of

 an ownership interest in any of your income or assets over the value of $100, in

 whole or in part, during the relevant time period, including:

        (a)    Banks, financial institutions, brokerage firms, and investment firms.

        (b)    Accountants.

        (c)    Business partners.

        (d)    Friends, family members, and associates.

        (e)    Other individuals, institutions, and entities.

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 Case25-11354-JNP
      25-11354-JNP Doc
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        48.    Identify the income or assets transferred to any third party, referenced

 in the foregoing interrogatory.

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        49.    Identify and produce all documents evidencing transfers of your

 income or assets to any third party, referenced in the foregoing interrogatory.

 ANSWER 0OUIFBEWJDFPGDPVOTFM *JOWPLFNZGJGUIBNFOENFOUQSJWJMFHFBOESFTQFDUGVMMZEFDMJOFUP
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 Dated: November 21, 2024                    /s/ Joshua J. Voss
                                             Matthew H. Haverstick (No. 85072)
                                             Joshua J. Voss (No. 306853)
                                             Samantha G. Zimmer (No. 325650)
                                             KLEINBARD LLC
                                             Three Logan Square
                                             1717 Arch Street, 5th Floor
                                             Philadelphia, PA 19103
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                                             Eml: mhaverstick@kleinbard.com
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 Attorneys for Plaintiffs                    szimmer@kleinbard.com




                                               29
Case
 Case25-11354-JNP
      25-11354-JNP Doc
                    Doc158
                        297-5FiledFiled
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                    Exhibit              Page
                            D to Certification 108  of 142
                                                 Page   30 of 31
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                           CERTIFICATE OF SERVICE

        I hereby certify that on the date below, I caused a true and correct copy

 of H]RZ_eZWWdo Interrogatories in Aid of Execution Directed to Defendant to be

 served upon the following counsel of record by email:

               Nathan P. Heller, nathan.heller@us.dlapiper.com;
               Joseph Roselius, joseph.roselius@us.dlapiper.com; and
               Jeffrey S. Torosian, jeffrey.torosian@us.dlapiper.com.

 Dated: November 21, 2024                          /s/ Joshua J. Voss
Case 25-11354-JNP   Doc 297-5 Filed 06/03/25 Entered 06/03/25 00:32:43   Desc
                    Exhibit D to Certification Page 31 of 31
